Case 5:07-cr-00001-DF-CMC              Document 60         Filed 08/27/07       Page 1 of 1 PageID #: 67



                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                          TEXARKANA DIVISION


    UNITED STATES OF AMERICA                           §
                                                       §
    V.                                                 §            CASE NO. 5:07CR1(1)
                                                       §
    NELSON ALEXANDER ANDRADE                           §


                  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                            FINDING DEFENDANT GUILTY

            On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

    violation of Title 21, USC, Section 846. Having conducted a proceeding in the form and manner prescribed

    by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea of the

    Defendant. No objections to the Findings of Fact and Recommendation have been filed. The Court is of the

    opinion that the Findings of Fact and Recommendation should be accepted.

.           It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed August 7, 2007, are hereby ADOPTED.

            It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 1 of the Indictment in the above-numbered cause.

           SIGNED this 27th day of August, 2007.




                                                           ____________________________________
                                                           DAVID FOLSOM
                                                           UNITED STATES DISTRICT JUDGE
